Case 23-11161-JKS Doc 382-5 Filed 11/03/23 Page 1 of 7

Exhibit 5
Case 23-11161-JKS Doc 382-5 Filed 11/03/23 Page 2 of 7

Kathryn Diemer

From: Kathryn Diemer

Sent: Tuesday, September 12, 2023 11:15 AM
To: Griffith, Greer; Evans, Joseph

Subject: RE: Alec Gorge

Dear Ms. Greer and Mr, Evans:

Could you provide me with an explanation and authority as to why you believe Mr. Gorge, a third party to this
bankruptcy, is required to provide documents before the 2004 examination?

Sincerely,

Katie

Kathryn S. Diemer, Esq.

DIEMER & WEI, LLP

55 S. Market Street

Suite 1420

San Jose, CA 95113

Due to the lingering effects of the pandemic, please serve all documents and all correspondence by e-mail
as our offices remain open electronically.

Tel: 408.971.6270

Cell: 408.506.3507
Case 23-11161-JKS Doc 382-5 Filed 11/03/23 Page 3 of 7

Kathryn Diemer

From: Kathryn Diemer

Sent: Thursday, September 14, 2023 11:57 AM
To: Griffith, Greer, Evans, Joseph

Subject: 2004 examination of Mr. Gorge

Dear Ms. Greer and Mr. Evans:

Mr. Gorge is more than willing to work with you on a stipulated date, an approved scope of examination, and an
appropriate protective order for the production of documents so that when you seek your 2004 examination order, you
can represent to Judge Stickles that you have met and conferred with the third party witness whom you seek to examine
as to the date, the scope of the examination and the protective order which is required given the type of information
which you seek in your request for production of documents, See Delaware Bankruptcy Local Rule 2004-1(b).

Your letter of August 18, 2023, which contains the “DEBTORS’ COMBINED REQUESTS FOR PRODUCTION OF
DOCUMENTS, INTERROGATORIES, AND RULE 2004 EXAMINATION OF ALEC GORGE PURSUANT TO FED.R.BANKR.P. 2004”
(hereinafter referred to as “Combined Requests”] refers in its first paragraph to interrogatories pursuant to FRCP Rule
33, requests for production of documents pursuant to FRCP 34, and depositions in accord with FRCP 30, as well as Rule
2004. Specifically, your Combined Requests include a request for production of documents (Exhibit A), Interrogatories
(Schedule B), and Rule 2004 examination (Schedule C), which identifies topics of examination. Federal Rules of Civil
Procedure 30, 33, and 34, only apply in adversary proceedings, and only apply to parties to the adversary

proceeding. See Bankruptcy Rule of Procedure 7030, 7033, and 7034. Federal Rules of Civil Procedure 33 and 34,
governing interrogatories and requests for production, only apply to parties. See FRCP 33(a) “A party may serve on any
other party ...” ; FRCP 34(a) A party may serve on any other party...”. There is no adversary proceeding pending to
which Mr. Gorge is a party. That means that the only form of discovery which applies to Mr. Gorge is the request for a
2004 examination. Mr. Gorge is perfectly willing to comply with his obligation to meet and confer as to the date, the
scope of examination, the scope of document production and the protective order concerning the document:
production as B.L.P 2004-1(b) requires. Once we have so met and conferred, Mr. Gorge looks forward to working with
you on the matter.

Unfortunately, your communications have been unclear. Hence my requests for information as to why you believe you
are entitled to anything more than a 2004 examination, i.e. my specific inquiry as to why you believe you are entitled to
answers to interrogatories, why you are seeking — apparently — both a deposition and a Rule 2004 examination, and
document requests both under the Rule 2004 examination procedure and under a deposition notice to parties as cited
above. | hope that the above clarifies the information | need to have from you, before my client and { can respond to
you.

Mr. Evans, you have repeatedly identified that no one else has yet required you to meet the terms of the requirements
under Federal Rule of Bankruptcy Procedure 2004. You have further identified that you believe there is some negative
onus which occurs because a witness asks for compliance with the rules of civil procedure and the rules of bankruptcy
procedure before testifying. | wish to be clear — Mr. Gorge is more than happy to comply with his obligations under the
rules of civil procedure and the rules of bankruptcy procedure. | am unclear what negative onus you believe such
compliance causes, and hereby ask that you clarify why you believe Mr. Gorge should ignore the protections put in place
specifically to protect third parties, along with clarifying what you are specifically seeking, as identified in the paragraphs
above. .

Thank you.
Case 23-11161-JKS Doc 382-5 Filed 11/03/23 Page 4 of 7

Sincerely,
Katie

Kathryn S, Diemer, Esq.

DIEMER & WEI, LLP

55 S. Market Street

Suite 1420

San Jose, CA 95113

Due to the lingering effects of the pandemic, please serve all documents and all correspondence by e-mail as our offices
remain open electronically.

Tel: 408.971.6270

Cell: 408.506.3507
Case 23-11161-JKS Doc 382-5 Filed 11/03/23 Page 5 of 7

Kathryn Diemer

From: Kathryn Diemer

Sent: Wednesday, October 4, 2023 5:00 PM
To: Griffith, Greer

Ce: Evans, Joseph

Subject: 2004 examination of Mr. Alec Gorge

Dear Ms. Griffith:

It was a pleasure speaking with you this afternoon. As we discussed, Mr. Gorge is amenable to appearing at a 2004
examination, wherein Debtor and our office have agreed upon the following. 1) A date that is convenient for Mr. Gorge
and his counsel. As | mentioned, Mr. Gorge has certain business obligations for his current job which means that we will
need to work around his schedule. | have a jury trial which | expect to take a minimum of two weeks, which is set to go
out on October 16, in Santa Clara County Superior Court. You indicated that you have not identified any potential dates
yet for the 2004 examination, and were unable to provide any potential dates to me, so that | could determine Mr.
Gorge’s availability.

2) The Debtor and Mr. Gorge must agree on the scope of the 2004 examination. The current scope of the 2004
examination, as set forth in the subpoena which was sent to Mr. Gorge identifies that Debtor wishes Mr. Gorge to a)
answer interrogatories, b) produce documents, and c) testify. As | have pointed out to you, and you agreed, the sole
method through which Debtor may obtain information from an independent third party witness, which Mr. Gorge
qualifies as, is through Bankruptcy Rule 2004, enforced through the issuance of a FRCP 45 subpoena. (As we agreed,
FRCP 45 applies to this situation through BRP 9016.) Rule 2004, FRCP 45 and BRP 9016 clearly provide solely for the
issuance of a subpoena for testimony, and if requested, the provision of documents at the time of testimony. Nothing in
BRP 2004, FRCP 45, or BRP 9016 enlarge the scope so that Debtor can obtain interrogatories, documents, and testimony
from an uninterested third party. | asked you prior to the conversation today, and again during today’s discussion, if you
had any authority to support your claim that you are entitled to all three forms of discovery from a third party, and/or if
you had any authority to support your claim that you are entitled to all three forms of discovery under Rule 2004. You
did not provide any such authority, other than to say that some persons whom you sent letters agreed to participate in
all three forms of discovery. As | pointed out, the fact that someone voluntarily agrees to do something, is not the same
as, and does not provide authority for Debtor to obtain all three forms of discovery, in excess of the actual rule, which
limits 2004 examination to testimony, and documents pursuant to FRCP 45, through BRP 9016.

The attendance of an entity for examination and for the production of documents or electronically stored
information, whether the examination is to be conducted within or without the district in which the case is
pending, may be compelled as provided in Rule 9016 for the attendance of a witness at a hearing or trial. As an
officer of the court, an attorney may issue and sign a subpoena on behalf of the court where the case is pending
if the attorney is admitted to practice in that court.

Bankruptcy Rule of Procedure 2004({c).

Bankruptcy Rule 9016 requires compliance with Federal Rule of Civil Procedure 45 for appearance at the 2004 hearing.
As | pointed out, FRCP 45 requires that Debtor avoid undue burden and expense on the person subject to the subpoena.
Further, that any concerns about compliance must be taken in the jurisdiction where the compliance is required, in this
case, in the Northern District of California. That any problems wherein Debtor caused or causes undue burden or
expense might subject the Debtor to sanctions, including attorneys fees.

A party or attorney responsible for issuing and serving a subpoena must take reasonable steps to avoid imposing
undue burden or expense on a person subject to the subpoena. The court for the district where compliance is

i
Case 23-11161-JKS Doc 382-5 Filed 11/03/23 Page 6 of 7

required must enforce this duty and impose an appropriate sanction—which may include lost earnings and
reasonable attorney's fees—on a party or attorney who fails to comply.

Fed.R.Civ.Pro. 45(d)(1)

The document which you sent to Mr. Gorge asks Mr. Gorge to answer interrogatories, asks Mr. Gorge to produce
documents, and asks Mr. Gorge to appear for oral examination. Leaving out the interrogatories, for which there is no
basis in the law, as described above, and for which you have not identified any basis in the law, or support for, both the
requests for production of documents, and the topics of oral examination are vastly overbroad. As just one example of
the problems with the requests, neither the requests for production of documents, nor the scope of testimony contain
any date limitations. In short, every request is vague as to time. As another example, Mr. Gorge does not work for
Prime and has not worked for Prime for some time. Yet, the scope of examination includes Prime Entities financial
condition, the petition for receivership, and the chapter 11 bankruptcy filing. Prior to the issuance of any order for 2004
examination, you are obligated to meet and confer. Not only are you required to meet and confer as to the dates, but
also as to the scope, so as to not impose undue burden or expense, as to the production of documents, testimony and
time. To date, you have not meaningfully met and conferred, as you have not provided any dates, you have not agreed
to limit or even discuss the scope of the 2004 examination, and despite agreeing that you will enter into an appropriate
confidentiality agreement in order to protect any confidential information, you have failed to provide any such
agreement, or asked for our input on what would be appropriate, as it relates to Mr. Gorge.

You indicated that you intend to file a request for a 2004 examination tonight. | informed you that if you did so, and you
asked for interrogatories we would object, and seek sanctions. In light of the fact that you have provided zero support
for the idea that Debtor is entitled to seek interrogatories, that you agreed during our conversation that there is no such
support in the law for Debtor to seek interrogatories, and that you agree that the sole rules controlling this matter are
FRCP 45, applicable through BRP 9016, and BRP 2004, we notified you that if you try to require Mr. Gorge to answer
interrogatories, we will seek Rule 11 sanctions. In addition, { notified you that your failure to meet and confer as to
scope and your failure to meet and confer as to dates, means that our office will file objections to Debtor's application
for 2004 examination, and seek sanctions for the cost of so doing.

We remain willing and committed to working with you, to schedule the 2004 examination of Mr. Gorge, pursuant to
Court order, at a date convenient for Mr. Gorge, within a scope of production and testimony which is appropriate for a
third party to any litigation, and pursuant to an appropriate protective order for confidentiality.

| look forward to further meet and confer efforts on this matter.

Sincerely,
Katie

Please note our new address:
Kathryn S. Diemer, Esq.

DIEMER & WEI, LLP

55 S. Market Street, Suite 1420

San Jose, CA 95113

tel. 408-971-6270

Cell, 408-506-3507
kdiemer@diemerwei.com
Case 23-11161-JKS Doc 382-5 Filed 11/03/23 Page 7 of 7

Kathryn Diemer

From: Kathryn Diemer

Sent: Tuesday, October 17, 2023 12:35 PM

To: Griffith, Greer; Evans, Joseph

Subject: Potential offer of resolution to the current impasse

Dear Ms. Griffith and Mr. Evans:

| have a suggestion which should get us over the current impasse. My client will answer a series of requests for
admission, under oath, that he never had possession of the seed phrase for 98f, never knew who did, and doesn’t know
when the seed phrase/key was generated, who generate it or how it was generated, nor any documents about the
same. In exchange, there will be no other forms of discovery. No requests for production of documents. No 2004
examination, No deposition.

Please let me know if that solution works for you.

Sincerely,
Katie

Please note our new address:
Kathryn S. Diemer, Esq.

DIEMER & WEI, LLP

55 S. Market Street, Suite 1420

San Jose, CA 95113

tel. 408-973-6270

Cell. 408-506-3507
kdiemer@diemerwei.com
